     Case 4:21-cr-06028-MKD      ECF No. 194    filed 04/08/22   PageID.1009 Page 1 of 2




1                                                                              FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON

2
                                                                      Apr 08, 2022
3                                                                         SEAN F. MCAVOY, CLERK

4                          UNITED STATES DISTRICT COURT
5                        EASTERN DISTRICT OF WASHINGTON
6
7    UNITED STATES OF AMERICA,                       No. 4:21-CR-6028-MKD-9
8                        Plaintiff,
9    vs.                                             ACKNOWLEDGMENT OF NOTICE
                                                     OF RIGHTS - INDICTMENT
10   Carlos Ruelas-Valdovinos,
11
12         The undersigned defendant does hereby acknowledge: I appeared on this date
13   and was advised as follows:
14
           1. Of the charge or charges placed against me, and I acknowledge receipt of
15            a copy of the:
16                      Ƒ Indictment
17                      Ƒ First/Second/Third/Fourth Superseding Indictment
                        
18
           2. Of the maximum penalty provided by law;
19
20         3. My right to remain silent at all times and if I make a statement it can be
              used against me;
21
22         4. My right to retain my own counsel; and if I am without funds, to have
23            counsel appointed to represent me in this matter;

24         5. My right to a jury trial before a United States District Judge, to be
25            confronted by the United States’ witnesses and to have witnesses attend
              on my behalf;
26
27         6. My right to a bail hearing, if I am in custody;
28

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1         7. My right, if I am not a United States citizen, to request a Government
             attorney or law enforcement official notify my country’s consulate of my
2            arrest or detention.
3
4
     _______________________________           Date: __________________________
                                                          __________
                                                           _04/08/2022
5    Interpreter Signature
6
7
     _______________________________           ______________________________
                                                                   _____________
                                                                   L. Faviola Gutierrez
8    Interpreter Printed Name                  Defendant Signature
9                                              I reviewed this document with
10                                             Mr. Ruelas-Valdovinos telephonically on
                                               April 08, 2022. He consents
11                                             on me signing on his behalf.
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